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7

8                    IN THE UNITED STATES DISTRICT COURT
9         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
     Hana Parks                                  Case No.: 2:19-cv-07601-SVW-JC
11                                               NOTICE OF SETTLEMENT WITH
                        Plaintiff                DEFENDANT SYNCHRONY BANK
12

13         v.
14

15
     Synchrony Bank
16

17

18

19
                               Defendant.
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20

21
           PLEASE TAKE NOTICE THAT plaintiff Hana Parks and defendant

22
     Synchrony Bank have reached a settlement in principle of the above captioned case

23   and are in the process of documenting said settlement. Plaintiff anticipates filing a
24   dismissal of Synchrony Bank, with prejudice, within 45 days once the settlement is
25   finalized.
26                                           Gale, Angelo, Johnson, & Pruett, P.C.
27
     Dated: January 2, 2020                        /s/ Joe Angelo
                                                   Joe Angelo
28                                                 Attorney for Plaintiff


                                     NOTICE OF SETTLEMENT - 1
